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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  STANLEY HOBEREK,

             Petitioner,

  v.                                          Civil Action No. 5:00CV184
                                       (Criminal Action No. 5:99CR13-01)
  UNITED STATES OF AMERICA,                                      (STAMP)

             Respondent.


                       MEMORANDUM OPINION AND ORDER
                    DENYING PETITIONER’S MOTION UNDER
                FEDERAL RULE OF CIVIL PROCEDURE 60(b)(6)

                                I.   Background

        The pro se1 petitioner, Stanley Hoberek, was indicted by a

  grand jury on February 3, 1999, in a 29-count indictment relating

  to the distribution of cocaine, marijuana, and heroin.                   The

  petitioner was sentenced on September 16, 1999, to 324 months

  imprisonment to run concurrent with all counts.2            The petitioner

  appealed his conviction to the United States Court of Appeals for

  the Fourth Circuit, which was denied.

        On October 25, 2000, the petitioner filed his first motion to

  vacate, set aside, or correct sentence by a person in federal

  custody pursuant to 28 U.S.C. § 2255.           The motion was denied by


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        “Pro se” describes a person who represents himself in a court
  proceeding without the assistance of a lawyer.         Black’s Law
  Dictionary 1341 (9th ed. 2009).
        2
        Specifically, the petitioner was sentenced to 324 months
  imprisonment as to Count One for conspiracy, 240 months
  imprisonment as to Count Twenty-Two for possession with intent to
  distribute crack cocaine, and 60 months imprisonment as to Counts
  Twenty-Three and Twenty-Four for violations of interstate
  transportation in aid to racketeering (“ITAR”).
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  this Court on April 11, 2002.3            The petitioner filed a second

  motion to vacate on December 14, 2005, followed by a third motion

  to vacate on July 13, 2007.        Both of these motions were denied.4

        Thereafter, the petitioner filed two motions pursuant to

  Federal Rule of Civil Procedure 60(b)(4).         On March 2, 2009, this

  Court entered a memorandum opinion and order affirming and adopting

  the report and recommendation of the magistrate judge denying those

  motions as successive applications for post-conviction relief.

        Now, the petitioner has filed a motion under Federal Rule of

  Civil Procedure 60(b)(6), requesting that this Court reconsider its

  decision regarding his § 2255 motion.        The government did not file

  a response.     For the reasons set forth below, the petitioner’s

  motion is denied.

                               II.    Discussion

        The Fourth Circuit has held that Rule 60(b) motions should be

  treated as successive applications for post-conviction relief under

  28 U.S.C. § 2255 when they present claims that are “equivalent to

  additional habeas claims.”       Hunt v. Nuth, 57 F.3d 1327, 1339 (4th

  Cir. 1995).    In United States v. Winestock, 340 F.3d 200 (4th Cir.

  2003), the Fourth Circuit further mandated that “district courts

  must treat Rule 60(b) motions as successive collateral review

  applications when failing to do so would allow the applicant to



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         The Fourth Circuit denied the petitioner’s appeal.
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        The petitioner filed a notice of appeal, which the Fourth
  Circuit dismissed.

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  ‘evade the bar against relitigation of claims presented in a prior

  application or the bar against litigation of claims not presented

  in a prior application.’” Id. at 206 (citing Calderon v. Thompson,

  523 U.S. 538, 553 (1998) (holding that courts must not allow

  prisoners to circumvent the strict requirements of 28 U.S.C.

  §§ 2254 and 2255 by attaching labels to petitions other than

  “successive application” for post-conviction relief)).

        The Winestock court also described the method that courts

  should use to distinguish a proper motion under Rule 60(b) from a

  “‘successive    [application]    in   60(b)’s   clothing.’”    Id.   at   207

  (quoting Lazo v. United States, 314 F.3d 571, 573 (11th Cir. 2002)

  (per curiam)).     The Court stated that

        a relatively straightforward guide is that a motion
        directly attacking the prisoner’s conviction or sentence
        will usually amount to a successive application, while a
        motion seeking a remedy for some defect in a collateral
        review process will generally be deemed a proper motion
        to reconsider.      Thus, a brand-new, free-standing
        allegation of constitutional error in the underlying
        criminal judgment will virtually always implicate the
        rules governing successive applications.

  Id.

        In this case, the petitioner’s Rule 60(b)(6) motion is, once

  again, challenging the legality of his sentence and not seeking to

  remedy a defect in the collateral review process.             In his prior

  Rule 60(b) motions (Docket Nos. 513 and 517), the petitioner

  attacked his conviction by claiming that the amount of drugs for

  which he was sentenced was not charged in the indictment, pleaded,

  proven to a jury or admitted by the petitioner at trial.                  The



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  petitioner further argued that the district court erred in finding

  that the decision in Apprendi v. New Jersey, 530 U.S. 466 (2000),

  was inapplicable to the petitioner’s case.            The petitioner makes

  these same arguments in his Rule 60(b)(6) motion currently before

  this Court.     He is, therefore, directly attacking his conviction

  and sentence in a manner that amounts to an appeal of the decision

  on his motions for habeas relief rather than a defect in the

  collateral review process.        Thus, the petitioner’s claims cannot

  stand unless properly brought after receiving a certificate of

  appealability or permission to file a successive § 2255 motion.

                                 III.   Conclusion

        For the reasons set forth above, the petitioner’s motion under

  Federal Rule of Civil Procedure 60(b)(6) is hereby DENIED.

        Should the petitioner choose to appeal the judgment of this

  Court to the United States Court of Appeals for the Fourth Circuit,

  he is ADVISED that he must file a notice of appeal with the Clerk

  of this Court within 30 days after the date of the entry of this

  judgment order.

        This   Court    finds    that   it   is   inappropriate      to    issue   a

  certificate of appealability in this matter.               Specifically, the

  Court finds that the petitioner has not made a “substantial showing

  of   the   denial    of   a   constitutional     right.”     See    28    U.S.C.

  § 2253(c)(2).    A prisoner satisfies this standard by demonstrating

  that reasonable jurists would find that any assessment of the

  constitutional claims by the district court is debatable or wrong



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  and that any dispositive procedural ruling by the district court is

  likewise debatable.     See Miller-El v. Cockrell, 537 U.S. 322, 336-

  38 (2003).     Upon review of the record, this Court finds that the

  petitioner has not made the requisite showing.           Accordingly, the

  petitioner is DENIED a certificate of appealability.

        The petitioner may, however, request a circuit judge of the

  United States Court of Appeals for the Fourth Circuit to issue the

  certificate.

        IT IS SO ORDERED.

        The Clerk is directed to transmit a copy of this order to the

  pro se petitioner by certified mail and to counsel of record

  herein.

        DATED:     March 19, 2010



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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